            Case 5:13-cv-00154-KGB Document 1 Filed 05/21/13 Page 1 of 16




LOUIS ROSS                                                                           PLAINTIFF


vs.                               CASE NO. 5·.\~w        \54 ~v
UNION PACIFIC RAILROAD COMPANY
AND JOHN DOE,
NAME AND ADDRESS UNKNOWN                                                        DEFENDANTS


                                    NOTICE OF REMOVAL

       Nelson G. Wolff
       Schlichter, Bogard & Denton
       100 South Fourth Street, Suite 900
       St. Louis, MO 63102

       Paul J. James
                                               This case assigned to District Judge~~ =
       James, Carter, Coulter, PLC
       500 Broadway
                                               ~nd to Magistrate Judge ____--.~thu~liil:l...:..,:;_--
       Little Rock, AR 72203

       Lafayette Woods, Sr.
       Jefferson County Circuit Clerk
       P.O. Box 7433
       Pine Bluff, Arkansas 71611

       PLEASE TAKE NOTICE that the captioned case filed as case number CV-2013-175-5

in the Circuit Court of Jefferson County, Arkansas, has been removed to the United States

District Court for the Eastern District of Arkansas, Pine Bluff Division. Union Pacific Railroad

files this Notice of Removal and states:

       1.       Plaintiff initiated this action on April 5, 2013, in the Circuit Court of Jefferson

County, Arkansas, case number CV-2013-175-5. Plaintiff seeks damages in excess of$75,000 as

a result of an automobile collision with a railroad crossing arm on July 19, 2011, in Pine Bluff,

Arkansas at the West 1ih A venue crossing. Union Pacific received a copy of the Summons and



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Complaint on April22, 2013; therefore, pursuant to 28 U.S.C. § 1446(b), this Notice of Removal

is timely. A copy of the Summons, the Complaint, the Affidavit of Service and the Answer,

which constitute all process, pleadings, and orders that have been filed with the Circuit Clerk of

Jefferson County as of May 21, 2013, are attached hereto as Exhibits A, B, C & D.

       2.       Defendant removes this action pursuant to the Court's diversity jurisdiction under

28 U.S.C. § 1332. Therefore, this case is removable under 28 U.S.C. § 1441 in accordance with

the procedures set forth in 28 U.S.C. § 1446.

       3.       Plaintiff is citizen of Arkansas, residing in Jefferson County, Arkansas. Defendant

is Delaware Corporation with its principle place of business in Omaha, Nebraska. Pursuant to 28

U.S.C. § 1441(b)(l), "the citizenship of defendants sued under fictitious names shall be

disregarded." The amount in controversy exceeds $75,000.

       4.       Notice of Removal is provided to the Circuit Court of Jefferson County,

Arkansas, and Plaintiff's attorneys, Nelson Wolff and Paul James.


                                                Respectfully submitted,

                                                Joseph P. McKay, 99006
                                                William D. Shelton, Jr., 2011086
                                                FRIDAY, ELDREDGE & CLARK, LLP
                                                400 West Capitol, Suite 2000
                                                Little Rock, AR 72201-3522
                                                Telephone: (501) 370-1497
                                                Facsimile: (501) 244-5326
                                                E-Mail: wshelton@fridayfirm.com

                                                By:U~~-
                                                   William D. Shelton:r:




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                                CERTIFICATE OF SERVICE

       I, William D. Shelton, Jr., hereby certify that a true and correct copy of the foregoing
pleading has been served by U.S. Mail, postage prepaid, on this 21st day of May, 2013, upon:

Nelson G. Wolff
Schlichter, Bogard & Denton
100 South Fourth Street, Suite 900
St. Louis, MO 63102

Paul J. James
James, Carter, Coulter, PLC
500 Broadway
Little Rock, AR 72203




                                                               ILLIAM D. SHE       ON, JR.




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              THE CIRCUIT COURT OF JEFFERSON COUNTY, ARKANSAS
                                   DIVISION
     ...



Plaintiff
LOUIS ROSS

v.                                            No: CV-2013-175-5

Defendant
UNION PACIFIC RAILROAD COMPANY
AND JOHN DOE,
NAME AND ADRESS UNKNOWN

                                               SUMMONS

THE STATE OF ARKANSAS TO DEFENDANT: UNION PACIFIC RAILROAD
COMPANY, THE CORPORATION COMPANY, 124 W. CAPITOL AVE., SUITE 1900,
LITTLE ROCK, AR 72201

A lawsuit has been filed against you. The relief demanded is stated in the attached complaint.
Within 30 days after service of this summons on you (not counting the day you received it) _ or 60
says if you incarcerated in any jail, penitentiary, or other correctional facility in Arkansas- you
must file with the clerk of this court a written answer to the complaint or a motion under Rule 12
of the Arkansas Rules of Civil Procedure.

The answer or motion must also be served on the plaintiff or plaintiff's attorney, whose name and
address are: .JAMES, CARTER & COULTER PLC, 500 BROADWAY, SUITE 400, LITTLE ROCK, AR
72201

If you fail to respond within the applicable time period, judgment by default may be entered
against you for the relief demanded in the complaint.

                                                           Lafayette Woods, Sr., Circuit Clerk
P.O. Box 7433
Pine Bluff, AR 71611
                                                        ~~
                                                        cterkOePUtYClerk~
                                                           Date: April 5, 2013

Case no: CV-2013-175-5
This summons is for: UNION PACIFIC RAILROAD COMPANY


                                              EXHIBIT

                                               A
              Case 5:13-cv-00154-KGB Document 1 Filed 05/21/13 Page 5 of 16




                                         PROOF OF SERVICE


        D I personally delivered the summons and complaint to the individual
          at                                        on                              [date); or
        0 I left the summons and complaint in the proximity of the individual
          by                            after hefshe refused to receive it when I oHered it to I
          him/her: or
        D I left the summons and complaint at the individual's dwelling house or usual place of
          abode at                                    [address] with                             [name],
          a person at least 14 years of age who resides there,
          on                               [date]; or
        D I delivered the summons and complaint to                                        [name of
          individual], and agent authorized by appointment or by law to receive service of
          summons on behalf of                                  [name of defendant]
          on                  [date]; or
        0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served
          the summons and complaint on the defendant by certified mail, return receipt
          requested, restricted delivery, as shown by the attached signed return receipt.
        D I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by
          first-class mail to the defendant together with two copies of a notice and
          acknowledgement and received the attached notice and acknowledgement form within
          twenty days after the date of mailing.
        D Other[specify): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        D I was unable to executed service because:,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

           Myfeeis$_________

To be completed if service is by a sheriff or deputy sheriff:
Date:                              SHERIFF OF_ _ _ _ _ _ _ _COUNTY, ARKANSAS
                                   By:. _ _ _ _ _ _ _ _ _ _ _ __


                                   [Printed name, title, and badge number]

To be completed if service is by a person other than a sheriff or deputy sheriH:
Date:                           · By:,_ _ _ _ _ _ _ _ _ _ _ __
                                 [Signature of server]

                         [Printed name]
Address:,__________________

Phone:________________


Subscribed and sworn to before me this date:___________
My commission expires:____________
                                                                              Notary Public
Additional information regarding service or attempted service:
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             IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ARKANSAS
                                DIVISION NO.~

LOUIS ROSS,                                                               PLAINTIFF


v.


UNION J>ACIFIC RAILROAD COMPANY
AND JOHN DOE,
NAME AND ADDH.ESS UNKNOWN,                                                 DEFENDANTS


SI~RVE   DEFENDANT UNION PACIFIC AT:

       The Corporation Company
       124 West Capitol Avenue, Suite 1900
       Little Rock, Arkansas 72201

                                        COMPLAINT

       COMES NOW Plaintiff Louis Ross, by and through his attorneys Schlichter, Bogard &

Denton, and for his Complaint against Defendant Union Pacific Railroad Company and

Defendant John Doe states as follows:

       1.     This action for personal injuries and damages suffered by Plaintiff Louis Ross

arises out of the malfunctioning of a Union Pacific Railroad Company mechanical crossing

guard arm on July 19, 2011 in Pine Bluff, Arkansas .

      . 2.    At all relevant times, Plaintiff Louis Ross has been a resident of Jefferson County,

Arkansas.

       3.     Defendant Union Pacific Railroad Company is a corporation duly organized and

cxi:sting under the law. Defendant is engaged in the business of operating a railway system in

interstate commerce and in the transportation of freight by railroad in interstate commerce in

Jefferson County and the State of Arkansas.




                                              EXHIBIT
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    )'
'        '



                    4.      Defendant John Doe, whose name and address are unknown and could not be

             discovered through reasonable effort, is an unknown manager employed by Defendant Union

             Pacific and is responsible for maintaining the proper functioning of the subject crossing guard.

             Upon information and belief, Defendant John Doe is a resident of the state of Arkansas.

                    5.      On July 19, 2011, Louis l~oss was traveling westbound on West 17th Avenue in

             Pine Bluff, Arkansas, at or near the intersection with Defendant Union Pacitic's railroad crossing

             when the railroad crossing ann came down on his vehicle, causing Plaintiff to sustain injuries

             and damage to his vehicle.

                    6.      Defendants, individually or by and through their agent(s), employee(s), servant(s),

             and or reprcsentative(s}, were negligent on the aforementioned date/time/location, in one or more

             of the following respects:

                    a.      They failed to use reasonable care to make the railroad crossing safe to prevent
                            injury to Plaintiff;·

                    b.      They failed to properly secure, inspect, and maintain its railroad crossing guard
                            and rai1road guard ann;

                    c.      Their improperly inspected and maintained railroad crossing, railroad crossing
                            guard, and railroad crossing guard ann presented a dangerous condition that
                            involved unreasonable risk of injury to Plaintiff;

                    d.      Defendants knew or should have known of this dangerous condition, and they
                            failed to use reasonable care to maintain, remove, or warn Plaintiff of the
                            dangerous condition, which a reasonably careful person would have done under
                            circumstances similar to those shown by the evidence in this case.

                    7.      As a proximate cause of Defendants' negligence, Plaintiff suffered injmies to his

             back and spine; he has sustained injuries to the soft tissues, ligaments, tendons, muscles, blood

             vessels of his back and spine; he has been caused to undergo severe pain and suffering; he has

             sought and received medical care and attention and will continue to receive medical care and

             attention; he has suffered psychological and emotional injury, mental anguish and anxiety and



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. ;.


       will continue to suffer psychological and emotional injury, mental anguish and anxiety in the

       fi1ture; he has incurred medical expenses and will in the future; all to his damage.

              WHEREFORE, Plaintiff Louis Ross prays for judgment against Detendant Union PacifiC

       Railroad Company and Defendant John Doe in a sum which is fair and reasonable, which sum is

       in excess of $75,000.00, plus cost of suit incurred.




                                                   ~~NELSON G. WOLFF ABN #2006002
                                                     l 00 South Fourth Street, Suite 900
                                                     St. Louis, Missouri 63102
                                                     (314) 621-6Il5
                                                     (314) 621-7151 (fax)
                                                     nwoltf@uselaws.com

                                                      and



                                                              J. AMES ABN #83091
                                                            E    ARTER, COULTER, P.L.C.
                                                      500 Broadway
                                                      Little Rock, Arkansas 72203
                                                      866· 716~3242
                                                      501-372-1659 (fax)

                                                      A ITORNEYS FOR PLAINTIFF

                                                      PLAINTIFF REQUESTS TRIAL BY JURY




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                 IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ARKANSAS
                                    FIFTH DIVISION

   LOUIS ROSS                                                                              PLAINTIFF

   v.                                  CASE NO.      CV~2013-175-5


   UNION PACIFIC RAILROAD COMPANY                                                       DEFENDANT

                                     AFFIDAVIT OF SERVICE

          Comes Paul J. James, attorney for the Plaintiff, and for his affidavit of service~ states:

          1.      On. April 18, 2013, Plaintiff mailed the Summons, Complaint, Interrogatories and

   Requests for Production ofDocwnents to The Corporation Company, registered agent for service of

   Utlion Pacific Railroad Company by certified mail number 7010 0780 0001 9201 2404, retum

   receipt requested.

          2.      On April 22, 2013, the Summons, Complaint, Interrogatories and Requests for

   Production of Documents were received by the office of the registered agent for Union Pacific

   Railroad Company and the return receipt was stamped signed by CT Corporation. See "Exhibit A"

   attached hereto and made a part hereof.

          3.      The receipt stamped signed by CT Corporation was effective service of process.

          4.      Further affiant saith naught.

                                             Respectfully submitted,

                                             Attorneys for Plaintiff


                                                        James (AR Bar No. 83091)
                                                        S, CARTER & COULTER, PLC
                                                  Post Office Box 907
                                                  Little Rock, Arkansas 72203-0907
                                                  (501) 372-1414 Telephone
                                                  (501) 372-1659 Facsimile


                                                  EXHIBIT

                                                  ~
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             SUBSCRIBED AND SWORN to before me,   thi~ay of April, 2013.

                                         N~----
   My Commission      Expire~~ 2f.JIS.
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                                                EXHIBIT "A"


                             U.S- Postal Service"
                             CERTIFIED MAIL RECEIPT        I
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               IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ARKANSAS
                                  FIFTH DNISION

LOUIS ROSS                                                                             PLAINTIFF

vs.                                CASE NO. CV-2013-175-5

UNION PACIFIC RAILROAD COMPANY
AND JOHN DOE,
NAMEANDADDRESSUNKNOWN                                                                DEFENDANTS


                 DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT

       COMES NOW the Defendant, Union Pacific Railroad Company, and for its Answer to

Plaintiff's Complaint states as follows:

       I.       Union Pacific admits that Plaintiff has filed an action for personal injuries and

damages.     Union Pacific denies the remaining allegations contained within paragraph 1 of

Plaintiff's Complaint.

       2.       Union Pacific is without sufficient infonnation to admit or deny the allegations

~ontained   in paragraph 2 of the Plaintiff's Complaint and therefore denies them.

       3.       Defendant admits that it is a corporation organized and existing under the law.

Defendant admits that some of its business constitutes operating a railway system in interstate

commerce and in the transportation of freight by railroad in interstate commerce in Jefferson

County and the State of Arkansas. Union Pacific denies the remaining allegations contained in

paraerapb 3 of Plaintiff's Complaint.

       4.       Defendant is without sufficient information to admit or deny the allegations

contained in paragraph 4 of the Plaintiff's Complaint and therefore denies them.

       5.       Union Pacific denies the allegations contained in paragraph S of Plaintiff's

Complaint.                                                                lr mL~\D)
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                                                      EXHIBIT
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       6.          Defendant denies the allegations contained in paragraph 6 of the Plaintiff's

Complaint and all subparagraphs therewuler.

       7.          Defendant denies the allegations contained in paragraph 7 of the Plaintiff's

Complaint.

       8.          Defendant denies the allegations contained in the WHEREFORE paragraph of the

Plaintiff's Complaint.

       9.          Defendant demands a trial by jury.

       10.         Defendant denies all allegations contained in Plaintiff's Complaint not

specifically admitted herein.

       11.         Defendant denies that it was in any way negligent and states that the accident was

caused by the negligence of the driver of the vehicle, including but not limited to one or more of

the following:

             (a)      the driver failed to keep a proper lookout;

             (b)      the driver failed to stop;

             (c)      the driver failed to use ordinary care to look and listen for activation of the

                      crossing protection devi«;es;

             (d)      the driver failed to stop his vehicle at a time when the crossing protection

                      devices were activated and presented an immediate hazard to him;

             (e)      the driver failed to stop at the crossing when the crossing protection devices

                      were plainly visible;

             (f)      the driver failed to exercise due care in operating his vehicle;




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              (g)       the driver failed to keep the vehicle under proper control and to operate with

                        caution and citeumspcction under the existing conditions of the time and place

                        alleged;

              (h)       the driver failed to drive his vehicle at a speed reasonable and proper wtdcr

                        the circwnstances;

              (i)       the driver failed to use the brakes and steering mechanism to stop or tum the

                        vehicle to avoid the collision; and

              G)        the driver operated his vehicle in a careless and wanton manner without regard

                        for the safety of others.

        12.         Defendant asserts that federal Jaw preempts all of Plaintitrs claims against it

based on the adequacy of the crossing warning devices, and the training of Defendant's

employees.

        13.         Pleading   affirmatively.       Plaintifrs    Complaint   should   be   dismissed   for

insufficiency of process.

       14.          Pleading   affirmatively,       Plaintiff"s   Complaint   should   be   dismissed   for

insufficiency of service of process.

       I 5.         Defendant reserves the right to plead fUrther and reserve objections on the basis of

insufficiency of process, insufficiency of service of process, failure to join a party under Rule 19,

if any, pendency of another action between the same parties arising out of the same transaction

or occurrence, and the affirmative defenses available under Rule 8, including but not limited to,

arbitration and award. discharge in bankruptcy, duress, estoppel, exclusiveness of remedy under

workers' compensation law, failure of consideration, fraud, illegality, injury by fellow servant,




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laches, license, payment, release. les judicata. setoff, statute of frauds, statute of limitations,

waiver, and any other matter constituting and avoidance or affirmative defense.

        16.     Plaintiff's allegation that Union Pacific Railroad negligently maintained the

crossing guard arm is expressly preempted by 49 U.S.C. § 20106 and 49 CFR § 234.4.

        WHEREFORE Defendant Union Pacific Company prays that Plaintiff's Complaint be

dismissed, for its costs, and for other relief to which it is entitled.




                                                Respectfully submitted,




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                                CERTIFICATE OF SERVICE


pleading has been served by U.S. Mail, postage prepaid. on this J.2_ day of
2013, upon:
                                                                                        y,
       I, William D. Shelton, Jr., hereby certify that a true and correct copy of the foregoing
                                                                                  M     tJ&



Nelson G. Wolff
Scblichter, Bogard & Denton
100 South Fourth Street, Suite 900
St. Louis, MO 631 02

Paul J. James
James, Carter, Coulter, PLC
500 Broadway
Little Rock, AR 72203




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